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                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ALABAMA
                           WESTERN DIVISION

TRANSAMERICAN EQUIPMENT                            )
COMPANY, LLC                                       )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )       Case No. 7:17-CV00481-LSC
                                                   )
INDUSTRIAL ASSETS CORP.,                           )
MAYNARDS INDUSTRIES USA LLC,                       )
and UTICA LEASECO, LLC                             )
     Defendants.                                   )

     UTICA LEASECO, LLC’S MOTION TO DISMISS FOR LACK OF

                             PERSONAL JURISDICITON

       Defendant Utica Leaseco, LLC (“Utica”) moves the Court to enter an Order

dismissing1 the claims against it for lack of personal jurisdiction pursuant to Rule

12(b)(2) of the Federal Rules of Civil Procedure. The motion is due to be granted

on the following grounds

       1.      Plaintiff’s claims are directed at actions related to a December 1, 2016

online auction of the Basofil production line (the “Equipment”). (Complaint, ¶ 6).

Plaintiff alleges that the owner of the Equipment, Utica, “secretly” bid on the

Equipment during the auction. (Complaint, ¶ 16). Plaintiff filed its complaint in

1       As an alternative, Utica and co-defendants Industrial Assets Corp. and Maynards
Industries USA, LLC are simultaneously moving the Court to transfer this case to the United
States District Court for the Western District of North Carolina, Asheville Division pursuant to
28 U.S.C. 1404(a).
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the Circuit Court of Tuscaloosa County, Alabama. Defendants timely removed the

case to this Court on diversity grounds.

      2.      A federal district court sitting in diversity may exercise personal

jurisdiction to the extent authorized by the law of the state in which it sits and to

the extent allowed under the Constitution. Meier ex rel. Meier v. Sun Int'l Hotels,

Ltd, 288 F. 3d 1264, 1269 (11th Cir. 2002). Therefore, the Court must determine

whether Utica’s activities and contacts in Alabama satisfy Alabama’s long-arm

statute and, if satisfied, whether sufficient “minimum contacts” existed between

Utica and Alabama so as to satisfy “traditional notions of fair play and substantial

justice” under the Due Process Clause of the Fourteenth Amendment. Id.

      3.      Alabama’s long-arm statute permits personal jurisdiction to the extent

it “is not inconsistent with the constitution of this state or the Constitution of the

United States.” Ala. R. Civ. P. 4.2(b). Thus, the question for the Court is whether

the assertion of personal jurisdiction over Utica comports with the Fourteenth

Amendment’s Due Process Clause. See Olivier v. Merritt Dredging Co., 979 F.2d

827, 830 (11th Cir. 1992). Compliance with the Fourteenth Amendment’s Due

Process Clause exists only when a defendant has minimum contacts with the forum

state and where the exercise of personal jurisdiction does not offend “traditional

notions of fair play and substantial justice.” International Shoe Co. v. Washington,

326 U.S. 310, 316, 66 S. Ct. 154, 90 L.Ed. 95 (1945).


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      4.      Depending on the quality and quantity of contacts, jurisdiction may be

either general or specific. Ex parte Dill, Dill, Carr, Stonebreaker & Hutchings,

P.C., 866 So. 2d 519, 525 (citing Lethenthal v. Harrelson, 723 So. 2d 566, 569

(Ala. 1998)). “General jurisdiction applies where a defendant’s activities in the

forum state are ‘substantial’ or ‘continuous and systematic,’ regardless of whether

those activities gave rise to the lawsuit ... A court has specific jurisdiction when a

defendant has had few contacts with the forum state, but those contacts gave rise to

the lawsuit.” Id.

      5.      The Court lacks general jurisdiction over Utica because its activities

in Alabama have not been substantial or continuous and systematic. Utica is a

Florida limited liability company. Utica’s only office is its corporate headquarters

located in Rochester Hills, Michigan. (Affidavit of James B. Junker, attached as

Exhibit A). It has no offices or other physical locations in Alabama. Id. Although

Utica has registered to do business in Alabama and has appointed an agent for

service of process, Utica is not currently conducting business in Alabama. Id. In

its history, Utica has participated in one business transaction in Alabama. Id. That

transaction, which was unrelated to Plaintiff’s claims, began in 2013 and

concluded in 2015.     Id. Utica’s lone business transaction in Alabama does not

constitute substantial, continuous or systematic activity.        Moreover, Utica’s

registration to do business and appointment of an agent for service of process in


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Alabama are insufficient to establish general jurisdiction. See Consolidated

Development Corp. v. Sherritt, Inc., 216 F. 3d 1286, 1293 (11th Cir. 2000).

      6.       The Court also lacks specific jurisdiction over Utica because

Plaintiff’s cause of action does not arise out of any activities by Utica within

Alabama. Utica was the owner of the Equipment. Exhibit A. The Equipment has

been in North Carolina at all relevant times. Complaint, ¶ 6. Utica did not conduct

the auction.     Exhibit A.    Utica had no contact with Plaintiff or Plaintiff’s

representatives concerning the auction. Id. No Utica employees directed any

communications related to the auction to Alabama. Id.

      7.       Furthermore, the conspiracy theory of personal jurisdiction is

inapplicable here because Plaintiff has not plead conspiracy with particularity, nor

has it alleged overt acts within Alabama taken in furtherance of a conspiracy. Ex

parte McInnis, 820 So. 2d 795, 806-07 (Ala. 2001).

      WHEREFORE, Utica respectfully requests an Order dismissing Plaintiff’s

claims against it for lack of personal jurisdiction.



                                               /s/ James E. Fleenor, Jr.
                                               Attorney for Defendants Industrial
                                               Assets Corp., Maynards Industries
                                               USA LLC, and Utica Leaseco LLC




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OF COUNSEL:

James E. Fleenor, Jr.
Wilson F. Green
Fleenor & Green LLP
1657 McFarland Blvd.N
Suite G2A
Tuscaloosa, Alabama 35406
(205) 722-1017 (Fleenor)
(205)722-1018 (Green)
jfleenor@fleenorgreen.com
wgreen@fleenorgreen.com




                              CERTIFICATE OF SERVICE


      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system and service will be perfected upon the following

via e-mail on the date of filing:

      Mr. James S. Ward
      Ward & Wilson, LLC
      2100A Southbridge Parkway
      Suite 580
      Birmingham, Alabama 35209
      jward@wardwilsonlaw.com

                                              s/ James E. Fleenor, Jr.
                                              Of Counsel




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                       EXHIBIT A
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